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technical Memorandum

To: Jeff Deville - Watertown Municipal Ufilities

From: Steve Burian, PE Wiket d Vhonion PE.
Richard Wagner, PE Hse of la ae fy em

 

Re: Analysis of Sioux Rural Water Capacity to Serve West Side and East Side ~~
Date: August 12, 2016
Introduction

Advanced Engineering and Environmental Services, Inc. (AE2S) has been retained by
Watertown Municipal Utilities (WMU) as an expert consultant to review the Watertown Service
Area Report (WSAR), prepared by DGR Engineering for the Sioux Rural Water (SRW) System
dated February 2016. This technical memorandum (TM) is a summary of the AE2S review and
includes an evaluation of the SRW System capacity to serve areas to the east and west of the City
of Watertown.

References

AE2S was provided a copy of the WSAR from WMU. The WSAR includes a five page
overview of the SRW system, including background information, the Watertown service area,
and a summary of the Sioux Water Treatment Plant (WTP). In addition, the WSAR includes a
resume for Darin Schriever, PE in Appendix A, a preliminary engineering report for the Sioux
Rural Water System in Appendix B, a preliminary engineering report addendum in Appendix C,
proposed distribution improvements in Appendix D, and hydraulic modeling results in Appendix
E.

Additional information was also provided by WMU, including historical water usage, building
water service pipe size, and date of connection to WMU for specific users. This information is
shown within this TM. WMU also provided information on the current city limits of Watertown
which is labeled as Attachment No. 1. Attachment No. 2 and Attachment No. 3 are enlarged
maps showing the West Side and the East Side, respectively, which reference the same areas as

 

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Exhibit A

 

 
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Technical Memorandum
RE: Analysis of Sioux Rural Water Capacity to Serve West Side and East Side
Daie: Augusi 12, 2016 :

consumption hisiory than 5,500 g/c/m. Table 3 — Historical Annual Waier Usage shows ithe toial
water use per year along with the average monthly water usage for each of these users.

 

_ Table 3 — Historical Annual Water Usage

         

 

 

 

 

 

 

 

 

 

 

 

 

 

2053 2014 2615 2613 2014 2015
Big Shot Fireworks NA NA 748 NA NA 62*
Cross Country Couriers NA NA 15,708 NA NA 1,309*
Dakota Automation 132,396 48,620 47,872 11,033 4,052 3,989
Fed Ex 32,164 25,432 29,920 2,680 2,119 2,493
Randy Hartley 59,840 60,588 54,604 4,987 5,049 4,550
Watertown Truck & Trailer 86,020 84,524 118,932 7,168 7,044 9.911
Lew’s Fireworks 17,204 20,196 21,692 1,434 1,683 1,808
McFleegs 32,912 48,620 23,188 2,743 4,052 1,932
Rising Star 364,276 448,052 423,368 30,356 37,338 35,281
Jim Aesoph — Car Wash NA NA 748 NA NA 62*
Jim Aesoph 8,976 10,472 7,480 748* 873* 6237
Wheelco 13,464 47,124 63,580 1,122 3,927 5,298
Wayne Weelborg 110,704 190,956 61,336 9,225 9,163 5,111

 

 

 

 

 

* Values may not reflect true monthly usage due to intermittent water usc (ic. seasonal variability)

As can be seen in Table 3, the 5,500 g/c/m average monthly assumption appears to initially be
adequate for all of these users except two, Watertown Truck and Trailer and Rising Star.
Recognizing that some of these users consist of unique businesses that have irregular water
demand from one month to the next, however, further investigation into their water usage is
necessary. Table 4— Peak Monthly Water Usage was prepared to indicate the month each user
used the most water and also show the magnitude of their usage. This table shows the month
that had the highest water usage for years 2013, 2014, and 2015.

 

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Exhibit A 8
